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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 15-60968-CIV-COHN/STRAUSS

      JENNIFER YOUNG, as the Administratrix
      and personal representative of the estate
      of JERMAINE McBEAN,

                 Plaintiff,

      v.

      PETER PERAZA, et al.,

                 Defendants.
                                                          /

                  ORDER GRANTING IN PART DEFENDANTS’ MOTION TO DISMISS

                THIS CAUSE is before the Court upon the Motion to Dismiss Third Amended

  Complaint [DE 135] (“Motion”) submitted by Defendants Gregory Tony in his official

  capacity as Sheriff of Broward County, Florida; Officer Brad Ostroff, individually; and

  Officer Richard Lacerra, individually (collectively, “Defendants”).1 The Court has

  considered the Motion, Plaintiff’s Response [DE 137], Defendants’ Reply [DE 140], and

  the record in this case and is otherwise advised in the premises. For the reasons

  discussed herein, the Court will grant the Motion in part.

           I.      BACKGROUND

                This case arises from the death of Jermaine McBean on July 31, 2013. Plaintiff

  recounts the events of that day as follows:

                Mr. McBean purchased an air rifle at a pawn shop and carried it on foot to his

  nearby home while listening to music through earbuds. DE 133 at 8. Officers Peraza,



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      Officer Peter Peraza, though a named Defendant in this action, is not a party to this Motion.
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  Ostroff, and Lacerra, also on foot, followed Mr. McBean for an unspecified distance until

  he had entered his apartment complex. Id. at 11. As Mr. McBean walked, still outside,

  toward his apartment, the officers called to him to drop his weapon. Id. at 13. Mr.

  McBean, holding the air rifle slung across his shoulders with both arms draped over it,

  could not hear the officers’ command over his music, but sensed some commotion

  behind him and stopped to turn around. Id. at 11, 13. As he was turning, Officer

  Peraza shot him. Id. at 14-15.

         A registered nurse who happened to see the incident presented herself to the

  officers and offered to provide medical assistance to Mr. McBean, who was still alive,

  but the officers refused. Id. at 18-19. Mr. McBean died of his injuries. Id. at 20.

         The Broward Sherriff’s Office (“BSO”) investigated the shooting, but Plaintiff

  alleges that the investigation amounted to a conspiracy to obfuscate the officers’

  misdeeds by, among other things, giving false reports of the events leading up to the

  shooting and ordering an autopsy upon Mr. McBean without notifying his family or

  seeking their permission. Id. at 21, 34. Sheriff Israel also gave Officers Peraza, Ostroff,

  and Lacerra awards for their conduct during the incident. Id. at 35.

         Plaintiff initiated this action on May 11, 2015. DE 1. She amended her

  Complaint for the first time on August 4, 2015. DE 31. Defendants filed a motion to

  dismiss only one claim in the First Amended Complaint, which the Court granted. DE

  37, 45. Plaintiff, with the Court’s leave, then filed a Second Amended Complaint

  (“SAC”) on January 13, 2016. DE 57. The matter was stayed for approximately three

  years pending the resolution of a parallel criminal action.2 DE 58. On March 6, 2019,


  2
    The criminal proceeding ended on December 13, 2018, when the Florida Supreme Court affirmed the
  lower court’s finding that Florida statutes 776.012(1) and 776.032(1), commonly known as the Stand Your

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  shortly after the stay was lifted, Defendants filed another motion to dismiss, this time

  relating to the entire SAC. DE 95. The Court struck that motion, agreeing with Plaintiff

  that Defendants could not raise arguments in a successive motion to dismiss that had

  been available to them in their previous motion to dismiss. DE 110. Federal Rule of

  Civil Procedure 12(c), however, permits a party to file a motion for judgment on the

  pleadings despite having already submitted a motion to dismiss, and so the Defendants

  refashioned the stricken motion to dismiss into a Rule 12(c) motion, arguing that the

  SAC was a shotgun pleading and failed to state a claim upon which relief could be

  granted. The Court agreed with Defendants and issued an order carefully listing all the

  deficiencies in the SAC and granting Plaintiff leave to amend it (“12(c) Order”). DE 129.

  Plaintiff filed her Third Amended Complaint (“TAC”) on February 18, 2020. DE 133.

  Defendants now seek to dismiss all the claims in the TAC asserted against them.

      II.     LEGAL STANDARD

      Under Federal Rule of Civil Procedure 12(b)(6), a party may move a court to dismiss

  all or part of a complaint for failure to state a claim upon which relief may be granted.

  When reviewing a motion to dismiss, “[a]ll of the factual allegations in the complaint

  must be accepted and construed in the light most favorable to the plaintiff.” Young

  Apartments, Inc. v. Town of Jupiter, FL, 529 F.3d 1027, 1037 (11th Cir. 2008). Courts

  need not, however, accept mere legal conclusions. Pouyeh v. Bascom Palmer Eye

  Inst., 613 F. App'x 802, 808 (11th Cir. 2015). To survive a motion to dismiss, a

  complaint must therefore contain “sufficient factual matter, accepted as true, to ‘state a



  Ground Law, applied to law enforcement officers, and that Defendant Peraza was immune from criminal
  prosecution in Florida’s courts based on his invocation of the Stand Your Ground Law. State v. Peraza,
  259 So. 3d 728, 733 (Fla. 2018).

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  claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

  (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). That is to say, the

  alleged facts must “raise a right to relief above the speculative level.” Twombly, 550

  U.S. at 555.

      III.       DISCUSSION

             Plaintiff asserts that three constitutional violations occurred in connection with Mr.

  McBean’s death: an unlawful use of deadly force against Mr. McBean, deliberate

  indifference to Mr. McBean’s serious medical needs, and a conspiracy to deprive Mr.

  McBean of his constitutional rights. Based on these alleged violations, Plaintiff asserts

  the following claims in the TAC:

             •   Count I: Unlawful Use of Deadly Force (under 42 U.S.C. § 1983) against

                 Officer Peraza

             •   Count II: Unlawful Use of Deadly Force: Failure to Intervene (under 42 U.S.C.

                 § 1983) against Officers Lacerra and Ostroff

             •   Count III: Unlawful Use of Deadly Force: Supervisory Liability (under 42

                 U.S.C. § 1983) against Officers Lacerra and Ostroff

             •   Count IV: Unlawful Use of Deadly Force: Monell Liability (under 42 U.S.C. §

                 1983) against Sheriff Tony3

             •   Count V: Failure to Train: Monell liability (under 42 U.S.C. § 1983) against

                 Sheriff Tony




  3
   All claims asserted against Sheriff Tony in his official capacity are interpreted as claims against the
  BSO. See Busby v. City of Orlando, 931 F.2d 764, 776 (11th Cir. 1991).

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          •   Count VI: Deliberate Indifference to Serious Medical Needs (under 42 U.S.C.

              § 1983) against Officers Peraza, Lacerra, and Ostroff

          •   Count VII: Deliberate Indifference to Serious Medical Needs: Supervisory

              Liability (under 42 U.S.C. § 1983) against Officers Lacerra and Ostroff

          •   Count VIII: Deliberate Indifference to Serious Medical Needs: Monell Liability

              (under 42 U.S.C. § 1983) against Sheriff Tony

          •   Count IX: Conspiracy (under 42 U.S.C. § 1983) against Officers Peraza,

              Lacerra, and Ostroff

          •   Count X: Conspiracy (under 42 U.S.C. § 1985) against Officers Peraza,

              Lacerra, and Ostroff

          •   Count XI: Wrongful Death (under Florida law) against Officer Peraza

          •   Count XII: Wrongful Death: Respondeat Superior Liability (under Florida law)

              against Sheriff Tony

          •   Count XIII: Civil Conspiracy (under Florida law) against Officers Peraza,

              Lacerra, and Ostroff

  DE 133 at 46-64. Defendants argue that all the Counts asserted against them4 must be

  dismissed. Specifically, they argue that (1) Officers Lacerra and Ostroff are entitled to

  qualified immunity with respect to all Counts asserted against them, (2) Plaintiff has

  failed to assert facts sufficient to support her claims of deliberate indifference to serious

  medical needs or supervisory liability, (3) Plaintiff’s conspiracy claims are improperly




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   Counts I and XI are asserted only against Officer Peraza, who is not a party to the Motion, and thus
  Defendants do not argue that these Counts must be dismissed. The following analysis deals only with
  Counts II-X and XII-XIII.

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  pled and barred by the intracorporate conspiracy doctrine, and (4) Plaintiff has not

  properly alleged that the BSO had a custom or policy of violating constitutional rights, as

  is necessary to state her claims against BSO.

         Plaintiff makes the preliminary counterargument that the Motion must be stricken

  under Rule 12(g)(2), which precludes a party from submitting a successive motion to

  dismiss which “rais[es] a defense or objection that was available to the party but omitted

  from its earlier motion.” Fed. R. Civ. Proc. 12(g)(2). She states that the TAC is

  substantively the same as her original Complaint, and thus Defendants have forfeited all

  the arguments they make in the Motion by not presenting them earlier. She does go on,

  however, to address the substantive arguments in the Motion anyway, surmising that

  even if the Motion is stricken, Defendants will simply refashion it into another motion for

  judgment on the pleadings pursuant to Rule 12(c). Substantively, Plaintiff responds that

  (1) she has alleged facts sufficient to deny Defendants qualified immunity, (2) her

  recount of the Officers’ conduct at the scene of the shooting sufficiently plead deliberate

  indifference to serious medical needs and supervisory liability, (3) the intracorporate

  conspiracy doctrine does not apply to conspiracies alleged under Florida law or in civil

  rights actions, and (4) Plaintiff has sufficiently supported her Monell claims by asserting

  that there was a custom at the BSO of violating constitutional rights and that Officers

  Lacerra and Ostroff, as policy-makers, ratified violative conduct at the scene of the

  shooting.

         The Court disagrees with Plaintiff’s procedural argument. While portions of the

  TAC are largely the same as the original Complaint, the TAC is different in one

  significant respect: each Count now includes only one cause of action and clearly



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  indicates against whom each cause of action is asserted. In the 12(c) Order, the Court

  found that the SAC was a shotgun pleading and therefore failed to effectively

  communicate the specific claims that were asserted against each specific Defendant.

  Plaintiff has corrected this deficiency in the TAC, and this clarity allows Defendants to

  make targeted arguments for dismissal instead of general arguments or arguments

  based on assumptions. The defenses they raise in the Motion were therefore not

  available to them when they filed their first motion to dismiss and thus are properly

  brought here.

             A. Unlawful Use of Deadly Force: Counts II, III, IV, and V

         Plaintiff asserts that the shooting of Mr. McBean constituted an unlawful use of

  deadly force and asserts that the BSO, Officer Lacerra, and Officer Ostroff are all

  responsible for this constitutional violation. She asserts that the BSO proximately

  caused the violation by (1) failing to train its officers in the lawful use of deadly force and

  the appropriate way to respond to individuals who cannot hear officers’ commands, and

  (2) failing to thoroughly investigate its deputies’ use of deadly force against civilians.

  She also asserts that Officers Lacerra and Ostroff are personally liable for failing to

  intervene and in their supervisory capacities. Defendants argue that the Officers are

  entitled to qualified immunity on the personal liability claims because (1) they had

  arguable probable cause to stop Mr. McBean and (2) their personal conduct did not

  violate any of his constitutional rights. In addition, they argue that without an underlying

  constitutional violation, Plaintiff’s municipal liability claims must also fail, and even if

  there were a constitutional violation, Plaintiff has not shown that it was the result of a

  BSO custom or policy.



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                    i. Personal Liability Claims: Counts II and III

         Defendants argue that Counts II and III should be dismissed because Officers

  Lacerra and Ostroff are qualifiedly immune. Qualified immunity is a defense

  government officials, but not municipalities, may use to shield themselves from litigation

  arising from actions they take in the course of executing their official discretionary

  functions. “[G]overnment officials acting within their discretionary authority are immune

  from suit unless the official's conduct violates clearly established [federal] statutory or

  constitutional rights of which a reasonable person would have known.” Keating v. City

  of Miami, 598 F.3d 753, 762 (11th Cir. 2010) (quoting GJR Invs., Inc. v. County of

  Escambia, 132 F.3d 1359, 1366 (11th Cir.1998) (internal quotation marks omitted)). In

  determining whether qualified immunity is applicable, a court must determine whether a

  constitutional violation has occurred and whether the right violated was clearly

  established at the time of the violation. Pearson v. Callahan, 555 U.S. 223, 232 (2009).

  The Court may take the inquiry in either order. Id. at 236.

         Plaintiff does not dispute that the officers were operating within their discretionary

  authority. The question, then, is whether the Officers’ personal conduct violated a

  clearly established constitutional violation.

                           1. Failure to Intervene: Count II

         In Count II, Plaintiff seeks to hold Officers Lacerra and Ostroff responsible for Mr.

  McBean’s shooting because they failed to intervene when Officer Peraza allegedly used

  unlawful deadly force against him. Defendants argue that they are entitled to qualified

  immunity because they had at least arguable probable cause to stop Mr. McBean and

  therefore no constitutional violation occurred. Plaintiff responds, with no supporting



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  case law, that the question is not whether Defendants had arguable probable cause but

  whether it was lawful to fatally shoot Mr. McBean. She then goes on to describe a

  number of facts alleged in the TAC which she asserts show that the shooting was not

  lawful.

            It is not clear how Plaintiff’s response resolves the question of whether Officers

  Lacerra and Ostroff are entitled to qualified immunity. Whether it was lawful to exert

  deadly force against Mr. McBean is simply another way of asking whether a

  constitutional violation occurred, and whether the Officers had arguable probable cause

  to stop Mr. McBean is relevant to that inquiry. The Court therefore interprets Plaintiff’s

  argument to be that the Officers did not have arguable probable cause and therefore a

  constitutional violation did occur.

            Even assuming that Plaintiff is correct and the use of deadly force against Mr.

  McBean was unlawful, however, Officers Lacerra and Ostroff are entitled to qualified

  immunity because Plaintiff has not described their personal conduct such that they may

  be held personally liable for it. Liability for failure to intervene only attaches where an

  officer is in a position to intervene at the time of the violation. Priester v. City of Riviera

  Beach, Fla., 208 F.3d 919, 924 (11th Cir. 2000). The duration of the violation is relevant

  to the determination of whether someone was in a position to intervene such that liability

  may attach. See, e.g., Marantes v. Miami-Dade Cty., 649 F. App'x 665, 672 (11th Cir.

  2016) (finding no failure to intervene where plaintiff was kicked “four times in rapid

  succession without warning”). Plaintiff’s recount of the facts indicates that Officer

  Peraza shot Mr. McBean three times in quick succession, just as Mr. McBean was

  turning around. The Court has not found, and the Plaintiff has not provided, any case



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   law holding law enforcement officers were liable for a failure to intervene under

   circumstances where a constitutional violation lasted only seconds. The Officers are

   therefore entitled to qualified immunity on the failure to intervene claim. See Militello v.

   Sheriff of Broward Sheriff's Office, 684 F. App'x 809, 815 (11th Cir. 2017) (finding that

   defendant officers were entitled to qualified immunity where plaintiff could not produce

   any precedent which would have put the officers on notice that they were required to

   intervene when plaintiff was beaten during booking). Count II must therefore be

   dismissed.

                    ii. Supervisory Liability: Count III

          Plaintiff also asserts that Officers Lacerra and Ostroff can be held personally

   responsible for Mr. McBean’s shooting under a theory of supervisory liability.

   Defendants argue that Plaintiff has not pled facts sufficient to show that the Officers’

   personal conduct as supervisors caused the shooting. Plaintiff disagrees and points out

   that in the TAC she asserts that the Officers failed to develop an appropriate plan of

   action for stopping Mr. McBean and did not properly prepare the less-experienced

   Officer Peraza for the encounter.

          Supervisors are not liable under § 1983 on the basis of respondeat superior.

   Danley v. Allen, 540 F.3d 1298, 1314 (11th Cir. 2008). Rather, in order to succeed on a

   supervisory liability claim, “a plaintiff must show that the supervisor either participated

   directly in the unconstitutional conduct or that a causal connection exists between the

   supervisor's actions and the alleged constitutional violation.” Harrison v. Culliver, 746

   F.3d 1288, 1298 (11th Cir. 2014). This causal connection can be established in several

   ways: (1) if “a history of widespread abuse puts the responsible supervisor on notice of



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   the need to correct the alleged deprivation, and he fails to do so,” (2) when a

   supervisor’s custom or policy causes “deliberate indifference to constitutional rights,” or

   (3) “when facts support an inference that the supervisor directed the subordinates to act

   unlawfully or knew that the subordinates would act unlawfully and failed to stop them

   from doing so.” Id. at 1298.

          Plaintiff has not pled facts sufficient to show a causal connection in any of these

   ways, and therefore, again assuming that Mr. McBean was shot unlawfully, the Officers

   cannot be held personally responsible for that violation. There is no allegation that

   either Officer Lacerra or Officer Ostroff themselves shot Mr. McBean. Nor is there any

   allegation that Officer Lacerra or Officer Ostroff either directed Officer Peraza to shoot

   Mr. McBean or knew that he would do so. And Plaintiff does not argue that historical

   abuses put the Officers on notice that they needed to take any corrective measures.

   Rather, Plaintiff appears to argue, again without supporting case law, that supervisory

   liability attaches because the supervising Officers’ response to the situation with Mr.

   McBean constitutes a policy which caused Officer Peraza’s deliberate indifference to

   Mr. McBean’s constitutional rights. But the existence of a supervisor’s policy or custom

   requires “point[ing] to multiple incidents or multiple reports of prior misconduct by a

   particular employee.” Henley v. Payne, 945 F.3d 1320, 1331 (11th Cir. 2019) (quoting

   Piazza v. Jefferson County, 923 F.3d 947, 957 (11th Cir. 2019) (internal quotation

   marks omitted) (alteration in original). Here, Plaintiff has not alleged that Officer Peraza

   had engaged in similar, violative conduct previously. Instead, she relies on the single

   incident of Mr. McBean’s shooting, which is insufficient to hold Officers Lacerra and

   Ostroff liable for Mr. McBean’s death. This Count must therefore also be dismissed.



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                    iii. Monell Claims: Counts IV and V

          In Counts IV and V, Plaintiff claims that the BSO is responsible for the allegedly

   unlawful use of deadly force against Mr. McBean. Count IV asserts that the BSO has a

   custom of using deadly force unlawfully, which led to the unlawful use of deadly force

   against Mr. McBean. Count V alleges that the BSO has a custom of failing to properly

   train its deputies in the lawful use of deadly force and the appropriate response to

   persons who cannot hear police instructions. Defendants argue that Plaintiff has failed

   to assert facts sufficient to show either custom. Plaintiff counters that the custom or

   policy is adequately alleged through (1) the assertion that Officers Lacerra and Ostroff

   were BSO policy-makers and that their “acts and omissions concerning the plan for

   addressing the situation” with Mr. McBean were functions of their policy-making role, (2)

   the BSO’s history of fatally shooting civilians, and (3) the awards given to the Officers

   for their role in the shooting incident.

          A municipality may be sued for damages where a municipal custom or policy was

   the moving force behind a violation of federal rights. Monell v. Dept. of Soc. Svcs. Of

   the City of New York, 436 U.S. 658, 690 (1978). To state a Monell claim under § 1983,

   a plaintiff must show (i) a constitutional violation, (ii) a municipal custom or policy, and

   (iii) a causal link between the two. See Johnson v. Darnell, 781 F. App’x 961, 964 (11th

   Cir. 2019). A custom or policy may be shown by an officially promulgated county policy,

   see Knight v. Miami-Dade Cty., No. 09-23462-CIV, 2012 WL 12845657, at *8 (S.D. Fla.

   Aug. 6, 2012), but is generally established by showing “a persistent and wide-spread

   practice,” Depew v. City of St. Marys, Ga., 787 F.2d 1496, 1s499 (11th Cir. 1986). A

   custom or policy may also be established by showing that a municipal official with



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   policymaking authority has ratified a subordinate’s violative actions. See City of St.

   Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (“If the authorized policymakers approve

   a subordinate's decision and the basis for it, their ratification would be chargeable to the

   municipality because their decision is final.”). A persistent failure to properly train law

   enforcement officers may constitute a custom under § 1983. See, e.g., Brooks v.

   Scheib, 813 F.2d 1191, 1193 (11th Cir. 1987) (“A municipality’s failure to correct the

   constitutionally offensive actions of [a] police department may rise to the level of a

   ‘custom or policy’ if the municipality tacitly authorizes these actions or displays

   deliberate indifference towards the police misconduct.”).

                             1. Unlawful Use of Deadly Force

          Even assuming that a constitutional violation did occur, none of the facts Plaintiff

   asserts sufficiently allege a custom or policy. Plaintiff does not clearly state how her

   assertion that Officers Ostroff and Lacerra failed to devise an appropriate plan for

   stopping Mr. McBean could show a policy or custom, but because Plaintiff has produced

   no authority indicating that an individualized response plan qualifies as an officially-

   promulgated policy, the Court interprets her argument as one proceeding under a

   ratification theory of liability. “[W]hen plaintiffs are relying not on a pattern of

   unconstitutional conduct, but on a single incident, they must demonstrate that local

   government policymakers had an opportunity to review the subordinate's decision and

   agreed with both the decision and the decision's basis before a court can hold the

   government liable on a ratification theory.” Salvato v. Miley, 790 F.3d 1286, 1296 (11th

   Cir. 2015) (quoting Thomas ex rel. Thomas v. Roberts, 261 F.3d 1160, 1174 n. 12 (11th

   Cir.2001)) (alteration in original). Such review must occur before the actions become



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   final. See Thomas ex rel. Thomas v. Roberts, 261 F.3d 1160, 1174 (11th Cir. 2001),

   cert. granted, judgment vacated sub nom. Thomas v. Roberts, 536 U.S. 953 (2002),

   opinion reinstated, 323 F.3d 950 (11th Cir.2003) (“[A] local government may be held

   liable for a constitutional tort when policymakers have had the opportunity to review

   subordinates' decisions before they become final.”). Here, in order for this single

   incident to amount to a custom or policy sufficient to sustain a Monell claim, Plaintiff

   must have alleged that Offiver Peraza revealed a plan to shoot Mr. McBean and

   Officers Lacerra and Ostroff had approved it. Plaintiff has asserted no such facts,

   however, and so the shooting incident itself cannot show a custom or policy sufficient to

   sustain her Monell claims.

          The single occasion of granting awards to the Officers also does not show a BSO

   custom or policy for purposes of Plaintiff’s Monell claims. Not only did the awards long

   postdate the shooting itself, but in Thompson v. Sheriff, Pinellas Cty. FL, 542 F. App'x

   826, 830 (11th Cir. 2013), the Eleventh Circuit summarily rejected the proposition that a

   post-incident nomination for an award could constitute ratification. The awards

   therefore cannot sustain the Monell claims.

          Plaintiff does include in the TAC, like the SAC before it, a summary of the

   criminal conduct of BSO deputies in the years before Mr. McBean’s death. This

   summary includes the allegation that in 2013, sixteen BSO deputies were subject to

   grand jury investigations in relation to civilian deaths. One deputy was even allegedly

   subject to two investigations simultaneously, having killed a second civilian after being

   returned to duty before the investigation into the first killing had opened. As the Court

   noted in the 12(c) Order, however, this summary does not indicate that any of these



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   investigations returned indictments. The fact that sixteen BSO deputies killed civilians

   over the course of a year does not show that they did so unlawfully. This data alone

   therefore also does not establish a history of abuse which might provide the basis for a

   Monell claim. Plaintiff has therefore not shown a custom or policy of unlawful use of

   deadly force by BSO deputies and Count IV must be dismissed.

                            2. Failure to Train

          Regarding Count V, Plaintiff makes no factual assertions regarding what type of

   training the BSO regularly provides its deputies with respect to either the use of deadly

   force or the proper way to respond to persons who cannot hear police instructions.

   While she does state on several occasions that the BSO has failed to properly train its

   deputies, the only actual facts she asserts to support the claim are that (1) Officer

   Peraza admitted he had not received training in how to respond to individuals who could

   not hear instructions and (2) Officer Peraza was returned to active duty following the

   shooting incident without any “meaningful” additional training. DE 133 at 41, 30. As

   discussed above, however, a single incident is insufficient to show a custom or policy

   for the purposes of a Monell claim. Even assuming that Officer Peraza was

   insufficiently trained, this fact alone would not show that the BSO regularly fails to train

   its deputies. She also concludes that “Lacerra and Ostroff clearly appear to not have

   had appropriate training in approaching situations such as that which unfolded here,”

   DE 133 at 53, but she does not assert any facts about what training Officers Lacerra

   and Ostroff did or did not receive. She seems to rely on the fact of the shooting itself to

   show their lack of training, but her claims cannot survive on conclusory statements

   alone. Without properly asserted facts to support it, Count V must also be dismissed.



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             B. Deliberate Indifference to Serious Medical Needs: Counts VI, VII, and

                 VIII

      In Counts VI and VII, Plaintiff charges Officers Lacerra and Ostroff with exhibiting

   deliberate indifference to Mr. McBean’s serious medical needs as principal actors and

   as supervisors, respectively. In Count VIII, she asserts a Monell claim on the same

   grounds. Defendants argue that Plaintiff fails to assert facts sufficient to support these

   claims. Specifically, they argue that the TAC does not state that Officer Ostroff had any

   part in declining to allow the bystander nurse to assist Mr. McBean, and the declination

   by Officer Lacerra does not show a deliberate indifference to a serious medical need.

   Plaintiff counters that she has clearly stated that Officer Ostroff also declined the

   nurse’s offer to help Mr. McBean and that the TAC avers that Defendants showed

   deliberate indifference to Mr. McBean’s medical needs in several ways, not only by

   refusing the help of the bystander.

          With respect to the former argument, the Court finds that Plaintiff has adequately

   implicated Officer Ostroff in the encounter with the nurse. Although the facts section of

   the TAC does not indicate that Officer Ostroff had any interaction with the nurse, in the

   Counts themselves both note that “Peraza, Lacerra, and Ostroff refused to let the

   trauma nurse provide any medical assistance to [Mr. McBean].” DE 133 at 54, 56. She

   has implicated him in both claims.

          Plaintiff has still failed to properly state her cause of action, however, no matter

   against whom she asserts it. To show deliberate indifference to a serious medical need

   in contravention of the Fourteenth Amendment, Plaintiff must show (i) a serious medical

   need, (ii) deliberate indifference to that need, and (iii) causation between that



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   indifference and the injury. Mann v. Taser Int'l, Inc., 588 F.3d 1291, 1306-07 (11th Cir.

   2009). Deliberate indifference in this context means (i) subjective knowledge of a risk of

   serious harm and (ii) disregard of that risk by conduct that is more than mere

   negligence. Melton v. Abston, 841 F.3d 1207, 1223 (11th Cir. 2016). In the 12(c)

   Order, the Court found that Mr. McBean was obviously experiencing a serious medical

   need, but that Plaintiff had failed to show deliberate indifference to that need. The 12(c)

   Order noted that the SAC did not allege, for example, that Defendants delayed calling

   EMS or prevented EMS from providing treatment. Plaintiff includes no such additional

   facts in the TAC, though. All she has added is that the bystander who offered help was

   in her nurse’s uniform when she presented herself to the Officers. This is simply

   insufficient to correct the infirmity the 12(c) Order clearly described. While she does

   conclude that the Officers “deliberately delayed in getting [Mr. McBean] medical aid . . .

   in the hope that he would die,” she has alleged no facts to support the conclusion. A

   fair reading of the TAC discerns only the following relevant facts: (1) that Mr. McBean

   was shot, (2) that the Officers did not allow a bystander to perform CPR on him, (3) that

   EMS arrived and attended to him, and (4) that he succumbed to his injuries at an

   unspecified later point in time. These few facts do not describe disregard of Mr.

   McBean’s medical risks by conduct that exceeds mere negligence. She therefore has

   not shown a constitutional violation which could form the basis for Counts VI, VII, and

   VIII, and these claims must be dismissed.

             C. Conspiracy: Counts IX, X, and XIII

          In the TAC, Plaintiff asserts three claims against Officers Lacerra, Ostroff, and

   Peraza for conspiring to violate Mr. McBean’s rights: Count IX asserts a claim under 42



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   U.S.C. § 1983; Count X asserts a claim under 42 U.S.C. § 1985; and Count XIII asserts

   a claim under Florida law. Defendants argue that Plaintiff has failed to correct the

   deficiencies the Court pointed out to her in the 12(c) Order. Specifically, they argue that

   she has failed to clearly describe the contours of the conspiracy, and even if she had,

   her claims cannot survive the intracorporate conspiracy doctrine. In addition, they

   resurrect an argument the Court rejected in the 12(c) Order: that the conspiracy charges

   must be dismissed to the extent they rely upon the officers’ testimony given during

   judicial proceedings. Plaintiff responds that (1) the claims do not rely upon testimony

   given during judicial proceedings, (2) the claims are exempt from the intracorporate

   conspiracy doctrine, and (3) the allegations are “more than abundantly clear” as to what

   exactly the Officers are accused of conspiring to do.

            With respect to the immunity argument, the Court still agrees with Plaintiff that

   absolute immunity is inapplicable here. As stated in the 12(c) Order, Plaintiff relies

   upon sworn statements given in the course of her own and the BSO’s investigation of

   the incident. And since Defendants have still not provided any additional authority

   indicating that statements given during such investigations enjoy the same immunity as

   statements given during judicial proceedings, the Court will not alter its position on this

   point.

            The Court agrees with Defendants on its other two arguments, however. In the

   12(c) Order, this Court noted that Plaintiff’s conspiracy charges, as she stated them in

   the SAC, were deficient for several reasons: first, it was not clear from the SAC which of

   Mr. McBean’s rights Defendants were alleged to have conspired to violate; second,

   while Plaintiff had stated facts sufficient to show that a conspiracy existed, she had not



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   shown how the conspiracy had led to the violation of any constitutional right; and third,

   she had not stated facts sufficient to overcome the intracorporate conspiracy doctrine.

   All three of these deficiencies remain in the TAC.

          The TAC, like the SAC before it, asserts that Defendants conspired to deprive

   Mr. McBean of his rights, without specification, under the Fourth, Fifth, and Fourteenth

   Amendments and the Privileges and Immunities Clause of the United States

   Constitution. But there are several rights guaranteed to individuals in each of those

   sections of the Constitution, and while the context of this case may be sufficient to

   indicate that the Fourth and Fourteenth Amendment right at issue is the right to be free

   of unlawful seizures, ambiguity remains. The Court strains to imagine, for example,

   what specific right under the Privileges and Immunities Clause of Article IV is possibly

   implicated in this matter. That clause prohibits any state from denying citizens of

   another state any of the privileges or immunities it offers its own citizens. Every

   iteration of the Complaint, however, has stated that Mr. McBean is a resident of

   Broward County, Florida. It is therefore not clear how the Privilege and Immunities

   Clause applies.

          In her Response, Plaintiff implies by comparison to the plaintiff in Battiste v.

   Jenne, 2006 WL3665420 (S.D. Fla., November 15, 2006), that she intends to allege “a

   civil rights conspiracy among BSO employees to deprive the Plaintiff of the

   constitutional right to be free from unlawful seizure of their persons by law enforcement

   officer, as guaranteed by the Fourth and Fourteenth Amendments to the United States

   Constitution.” DE 137 at 18. However, as previously discussed in the 12(c) Order, the

   only conspiracy clearly described in the TAC, like the SAC before it, is the alleged



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   cover-up that took place after Mr. McBean’s death. While the TAC’s description of the

   alleged cover-up is extensive, it still fails to connect the conspiracy with the deprivation

   of a federally-guaranteed right. Even assuming that an unlawful seizure did occur when

   Officer Peraza shot Mr. McBean, there are no facts in the TAC indicating that any

   conspiracy occurred before Mr. McBean’s death, and there are no facts in the TAC

   indicating that the alleged cover-up was intended to deprive him of any other

   constitutional rights.

          In addition, these Counts still cannot survive the intracorporate conspiracy

   doctrine. “[U]nder the [intracorporate conspiracy] doctrine, a corporation cannot

   conspire with its employees, and its employees, when acting in the scope of their

   employment, cannot conspire among themselves.” McAndrew v. Lockheed Martin

   Corp., 206 F.3d 1031, 1036 (11th Cir. 2000) (en banc). The 12(c) Order pointed out

   that Plaintiff’s own recount of events in the SAC only listed BSO employees as potential

   co-conspirators, and the TAC continues to assert only that Defendants “and other BSO

   employees” participated in the cover-up conspiracy. This deficiency therefore remains

   uncorrected.

          Plaintiff argues that the doctrine does not apply to Counts IX, X, and XIII, but the

   Court is not persuaded. Although Plaintiff notes that the Supreme Court has not

   approved the application of the doctrine in civil rights cases, the case she cites for this

   proposition clearly goes on to state that “[n]othing in this opinion should be interpreted

   as either approving or disapproving the intracorporate-conspiracy doctrine's application

   in the context of an alleged § 1985(3) violation.” Ziglar v. Abbasi, 137 S. Ct. 1843, 1868

   (2017). And Plaintiff even concedes that the Eleventh Circuit recognizes the application



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   of the doctrine in civil rights actions. See, e.g., Dickerson v. Alachua Cty. Com’n, 200

   F.3d 761 (11th Cir. 2000). Similarly, while she correctly points out that Defendants

   failed to show that the doctrine applied under Florida law, Florida courts have also

   recognized the applicability of the doctrine under state law. See, e.g., Cedar Hills

   Props. Corp. v. E. Fed. Corp., 575 So.2d 673, 676 (Fla. 1st DCA 1991) (“Since a

   corporation is a legal entity which can only act through its agents, officers and

   employees, a corporation cannot conspire with its own agents unless the agent has a

   personal stake in the activities that are separate and distinct from the corporation's

   interest.”). The doctrine therefore clearly applies to the instant matter.

          Plaintiff next argues, however, that the doctrine does not apply where, as here, a

   civil complaint alleges a criminal conspiracy, see Battiste, 2006 WL 3665420, at *1.

   She does not indicate under what statute the alleged conspiracy is criminal, though the

   Court notes that 18 U.S.C. § 282 makes it a crime for anyone acting under color of law

   to willfully deprive anyone of federally-guaranteed rights, which bears a strong

   resemblance to the civil rights claims Plaintiff makes. However, as discussed above,

   the only conspiracy described in the TAC is not clearly related to any subsequent

   deprivation of a federally-guaranteed right. Without any indication of how the cover-up

   deprived Mr. McBean of any constitutional right, there is no actionable criminal activity.

   For all these reasons, Counts IX, X, and XIII must therefore be dismissed.

             D. Respondeat Superior: Count XII

          Finally, Plaintiff asserts a claim against Sheriff Tony for wrongful death under a

   respondeat superior theory of liability. Defendants conclude in the introduction to the

   Motion that Sheriff Tony is entitled to sovereign immunity on this claim, but there is no



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   further develop of the argument in the subsequent memorandum of law. Plaintiff

   responds with similar brevity that “Defendants are just plain wrong. Section 768.28(9)(a)

   expressly provides for such a claim to be brought against the entity (here the Sheriff’s

   office - through Sheriff Tony in his official capacity), exactly as it is alleged.” DE 137 at

   21.

          Defendants make no argument and present no precedential authority to indicate

   that sovereign immunity applies in this case. The Court notes, however, that Florida

   waives sovereign immunity for some tort cases. Specifically, Florida’s waiver statute

   states that

          [t]he state or its subdivisions shall not be liable in tort for the acts or
          omissions of an officer, employee, or agent . . . committed in bad faith or
          with malicious purpose or in a manner exhibiting wanton and willful
          disregard of human rights, safety, or property.

   Fla. Stat. Ann. § 768.28 (West). Thus, if the actions alleged “can occur only from bad

   faith or malicious or wanton and willful conduct, then the claim against the government

   entity fails on sovereign immunity grounds.” N.R. by Ragan v. Sch. Bd. of Okaloosa

   Cty., Fla., 418 F. Supp. 3d 957, 998 (N.D. Fla. 2019) (quoting Gregory v. Miami-Dade

   Cty., Fla., 719 F. App'x 859, 873 (11th Cir. 2017)) (internal quotation mark omitted). It is

   not clear from Plaintiff’s asserted facts, however, that Officer Peraza’s actions could

   only have occurred with bad faith or malice. The Court therefore disagrees with

   Defendants’ conclusion that sovereign immunity bars the claim.

             E. Leave to Amend

          Defendants ask that all dismissed Counts be dismissed with prejudice. Plaintiff

   does not respond to this request and does not ask for leave to amend the pleading a

   fourth time. Under Federal Rule of Civil Procedure 15(a)(2), plaintiffs should be freely


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   given leave to amend a complaint “when justice so requires.” Courts may deny

   permission to amend a pleading, however, where a party fails to cure deficiencies by

   amendments previously allowed. Espey v. Wainwright, 734 F.2d 748, 750 (11th Cir.

   1984). Here, Plaintiff has already amended her complaint three times and the TAC fails

   to correct all the deficiencies that the 12(c) Order very clearly listed. In addition, the

   Eleventh Circuit has “never required district courts to grant counseled plaintiffs more

   than one opportunity to amend a deficient complaint.” Eiber Radiology, Inc. v. Toshiba

   Am. Med. Sys., Inc., 673 Fed. Appx. 925, 930 (11th Cir. 2016). To the contrary, the

   Eleventh Circuit has upheld the denial of leave to amend where, as here, a plaintiff has

   not formally moved for leave to amend under Rule 15. Id. (affirming district court’s

   dismissal of plaintiff’s amended complaint with prejudice after “noting that Plaintiff never

   squarely pursued its right to seek leave to amend under Rule 15(a)(2) when Defendant

   again moved to dismiss, nor did it explain to the district court below why justice might

   require a second opportunity to amend.”). Finally, it is worth noting that this case has

   been pending for approximately five years and is scheduled to begin trial in seven

   months. Under these circumstances, the Court finds that “[p]ermitting another round of

   amendments would . . . unduly protract[] the proceeding . . . and promote[] judicial

   inefficiency.” Id. Defendants’ request is therefore granted.

      IV.      CONCLUSION

            Based on the foregoing, it is accordingly ORDERED AND ADJUDGED as

   follows:

            1. Defendants’ Motion to Dismiss Third Amended Complaint [DE 135] is

               GRANTED in part.



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          2. Counts II, III, IV, V, VI, VII, VIII, IX, X, and XIII are DISMISSED with

             prejudice.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

   Florida, this 17th day of April, 2020.




   Copies provided to:
   Counsel of record via CM/ECF




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